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                           UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF NEW YORK


RUBY FREEMAN and WANDREA’ MOSS,

                                Plaintiffs,
                                                                      No. 24-cv-6563 (LJL)
v.

RUDOLPH W. GIULIANI,

                                Defendant.


 DECLARATION OF M. ANNIE HOUGHTON-LARSEN RE REPLY IN SUPPORT OF
        PLAINTIFFS’ MOTION FOR CIVIL CONTEMPT AND SANCTIONS

       I, M. Annie Houghton-Larsen, hereby declare as follows pursuant to 28 U.S.C. § 1746:

       1.      I am counsel to Plaintiffs Ruby Freeman and Wandrea’ Moss (“Plaintiffs”) in the

above-captioned action.

       2.      I submit this declaration in support of Plaintiffs’ reply in support of Plaintiffs’

motion for civil contempt and sanctions and in response to the Court’s order at ECF No. 112

regarding the testimony and exhibits to be considered in connection with Plaintiffs’ motion.

       3.      Attached hereto as Exhibit A is a true and correct copy of the motion and

accompanying materials filed by Mr. Giuliani in his 2024 bankruptcy on April 17, 2024 seeking

to retain Mr. Kenneth Caruso as counsel.

       4.      Plaintiffs submit as evidence they wish the Court to consider in connection with

their motion for civil contempt and sanctions: Plaintiffs’ filings in support of their motion and

accompanying exhibits. Plaintiffs further submit that sufficient evidence exists to grant Plaintiffs’

motion without hearing the testimony of Mr. Giuliani, but Plaintiffs do not oppose Mr. Giuliani

being given the opportunity to testify, should the Court choose to do so.

       I declare under penalty of perjury that the foregoing is true and correct.
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Executed on December 27, 2024              s/ M. Annie Houghton-Larsen
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